                Case 2:17-cr-00103-KJD-VCF                Document           219-1                  Filed 09/11/23 FOR
                                                                                                                     Page  1 of
                                                                                                                        COURT USE7ONLY
  AO 435                        United States District Court, District of Nevada
(NVD Rev. 02/2020)                           TRANSCRIPT ORDER
                                                                                                                          DUE DATE:
Read Instructions attached:

1. NAME                                                                                 2. PHONE NUMBER                   3. DATE

4. FIRM NAME


5. MAILING ADDRESS                                                                      6. CITY                           7. STATE          8. ZIP CODE

9. CASE NUMBER                                  10. JUDGE                                                    DATES OF PROCEEDINGS
                                                                                        11. FROM                          12. TO
13. CASE NAME                                                                                               LOCATION OF PROCEEDINGS
                                                                                        14. CITY                          15. STATE
16. ORDER FOR
     APPEAL                                          CRIMINAL                                  BANKRUPTCY                             OTHER (Specify)
     NON-APPEAL                                      CIVIL                                     IN FORMA PAUPERIS

17. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested):

                  PORTIONS                                       DATE(S)                         PORTION(S)                             DATE(S)
                               VOIR DIRE                                                    TESTIMONY (Specify witness)
        OPENING STATEMENT (Plaintiff)
      OPENING STATEMENT (Defendant)
        CLOSING ARGUMENT (Plaintiff)                                                            PRE-TRIAL PROCEEDING
       CLOSING ARGUMENT (Defendant)
                 OPINION OF COURT
                JURY INSTRUCTIONS                                                                       OTHER (Specify)
                           SENTENCING
               DETENTION HEARING
18. ORDER
                        ORIGINAL                         FIRST       ADDITIONAL           DELIVERY INSTRUCTIONS                     ESTIMATED COSTS
  CATEGORY        (Includes Certified Copy to            COPY          COPIES                (check all that apply)
                       Clerk for Records of the Court)

    ORDINARY
     (30-DAY)                                                                           PAPER COPY
     14-DAY
                                                                                        E-MAIL
    EXPEDITED
     (7-DAY)                                                                            DISK
      3-DAY
                                                                                        PDF FORMAT
     DAILY
                                                                                        ASCII FORMAT
    HOURLY
                                                                                        KEYWORD INDEX
    REALTIME/
     ROUGH
                           CERTIFICATION (19. & 20.)                                    E-MAIL ADDRESS
   By signing below, I certify that I will pay all charges (deposit plus additional).
19. SIGNATURE
                                                                                        NOTE: IF ORDERING BOTH PAPER AND ELECTRONIC COPIES,
20. DATE                                                                                THERE WILL BE AN ADDITIONAL CHARGE.

TRANSCRIPT TO BE PREPARED BY
                                                                                        ESTIMATE TOTAL                                   0.00

                                                         DATE               BY          PROCESSED BY                       PHONE NUMBER
ORDER RECEIVED

DEPOSIT PAID                                                                            DEPOSIT PAID

                                                                                                                                         0.00
TRANSCRIPT ORDERED                                                                      TOTAL CHARGES

                                                                                                                                         0.00
TRANSCRIPT RECEIVED                                                                     LESS DEPOSIT
ORDERING PARTY NOTIFIED
TO PICK UP TRANSCRIPT                                                                   TOTAL REFUNDED

                                                                                                                                         0.00
PARTY RECEIVED TRANSCRIPT                                                               TOTAL DUE
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AO 435
(NVD Rev. 02/2020)
                                                  INSTRUCTIONS

                                DO NOT E-FILE TRANSCRIPT ORDER FORMS

GENERAL -

Use. Use this form to order the transcription of proceedings. Complete a separate order form for each case
number for which transcripts are ordered.

Completion. Complete Items 1-20. Do not complete shaded areas which are reserved for the court’s use.

Order Copy. Keep a copy for your records.

Submitting to the Court. Submit the form in the format required by the court. See the court’s website for
e-mail addresses. E-mail directly to the reporter/recorder for the assigned presiding District Judge.

Deposit Fee. The court will notify you of the amount of the required deposit fee which may be mailed or
delivered to the court. Upon receipt of the deposit, the court will process the order.

Delivery Time. Delivery time is computed from the date of receipt of the deposit fee or for transcripts
ordered by the federal government from the date of receipt of the signed order form.

Completion of Order. The court will notify you when the transcript is completed.

Balance Due. If the deposit fee was insufficient to cover all charges, the court will notify you of the balance
due which must be paid prior to receiving the completed order.


SPECIFIC -

Items 1-20.          These items should always be completed.

Item 9.              Only one case number may be listed per order.

Item 16.             Place a “T” in each box that applies.

Item 17.             Place a “T” in the box for each portion requested. List specific date(s) of the proceedings
                     for which transcript is requested. Be sure that the description is clearly written to facilitate
                     processing. Orders may be placed for as few pages of transcript as are needed.

Item 18.             Categories - There are 7 categories of transcripts which may be ordered. These are:

                             Ordinary
                             (30-Day) -        A transcript to be delivered within 30 calendar days after receipt
                                               of an order. (Order is considered received upon receipt of the
                                               deposit.)

                             14-Day -          A transcript to be delivered within 14 calendar days after receipt
                                               of an order.



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                        Expedited
                        (7-Day) -        A transcript to be delivered within 7 calendar days after receipt of
                                         an order.

                        3-Day -          A transcript to be delivered within 3 calendar days after receipt of
                                         an order.

                        Daily -          A transcript to be delivered on the calendar day following receipt
                                         of the order (regardless of whether that calendar day is a weekend
                                         or holiday), prior to the normal opening hour of the clerk’s office.

                        Hourly -         A transcript of proceedings to be delivered within 2 hours from
                                         receipt of the order.

                        Realtime -       A draft unedited transcript produced by a certified realtime
                                         reporter as a byproduct of realtime to be delivered electronically
                                         during proceedings or immediately following receipt of the order.

NOTE: Full price may be charged only if the transcript is delivered within the required time frame. For
example, if an order for expedited transcript is not completed and delivered within 7 calendar days, payment
would be at the 14-day delivery rate, and if not completed and delivered within 14 calendar days, payment
would be at the ordinary delivery rate.

                Ordering - Place an “X” in each box that applies. Indicate the number of additional copies
                ordered.

                        Original -       Original typing of the transcript. An original must be ordered and
                                         prepared prior to the availability of copies. The original fee is
                                         charged only once. The fee for the original includes the copy for
                                         the records of the court.

                        First Copy -     First copy of the transcript after the original has been prepared.
                                         All parties ordering copies must pay this rate for the first copy
                                         ordered.

                        Additional Copies - All other copies of the transcript ordered by the same party.

                        Delivery Instructions - Place an “T” in each box that applies. If ordering multiple
                                                formats, there will be an additional copy charge. Provide
                                                an e-mail address where electronic e-mail copy should be
                                                sent.

Item 19.                Sign in this space to certify that you will pay all charges. (This includes the deposit
                        plus any additional charges.)

Item 20.                Enter the date of signing.

Shaded Area - Reserved for the court’s use only.

NOTE: If you are CJA appointed counsel, do not use this AO 435 Transcript Order form. You must submit
your request through the Court’s electronic voucher management system, CJA eVoucher.



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Transcript Orders – Frequently Asked Questions


   1. How do I order a transcript of a hearing or trial?
       For CJA appointed attorneys only: Log into the court’s CJA eVoucher system and submit a CJA-24
       transcript request form.
       For all other requests: Obtain a Transcript Order form & Instructions from the court’s website or from the
       Clerk’s Office in Las Vegas or Reno. E-mail the completed form to the court reporter.
       Do not e-file the transcript order form on the court’s electronic filing system.


   2. Who do I email the transcript order form to?
       Please refer to the minutes of proceedings on the court docket for the name of the Court Reporter or
       Electronic Court Recording Operator (ECRO), or if audio digital recording was used (FTR or Liberty).

       a. Hearings reported by an Official Court Reporter
           If the hearing was reported by an official court reporter, please email the transcript order form directly
           to that court reporter. The Minutes of Proceedings will include the name of the reporter.

           Below are the names and email addresses for each reporter.

               Official Court Reporters:                      Email to:
               Amber McClane                                  AM@nvd.uscourts.gov
               Heather Newman                                 HN@nvd.uscourts.gov
               Kathy French                                   KF@nvd.uscourts.gov
               Margaret Griener                               MG@nvd.uscourts.gov
               Patricia Ganci                                 PG@nvd.uscourts.gov
               Shayna Montgomery                              SM@nvd.uscourts.gov
               Felicia Zabin                                  feliciazabinccr@gmail.com
               Katherine Eismann                              Katherine_Eismann@id.uscourts.gov
               Jan Davis                                      jbd.davis@gmail.com
               Anne Bowline                                   anne@professionalreporting.com
               Monique Gentry                                 mkg.gentry@gmail.com


           If the order form includes multiple proceedings before more than one reporter or was reported by a
           court reporter whose name is not listed above, please email the transcript order form to
           Transcript_Orders@nvd.uscourts.gov.




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Transcript Orders – Frequently Asked Questions


       b. Hearings electronically recorded by an ECRO or a U.S. Magistrate Judge Courtroom Deputy

             If the hearing was a digital audio recorded (FTR or Liberty) proceeding before a U.S. Magistrate
             Judge, please email the transcript order form to the email address that is associated with the U.S.
             District Judge that is assigned to the case (see chart below).

             If the hearing was before a U.S. District Judge and was electronically recorded by an ECRO, please
             email the transcript order form to the email address that is associated with the U.S. District Judge
             that is assigned to the case (see chart below).

             U.S. District Judge assigned to the case is:       Email transcript order to:

                                    Judge Gloria M. Navarro                            Transcript_Orders@nvd.uscourts.gov

                                 Chief Judge Miranda M. Du                           Kathy French at KF@nvd.uscourts.gov

                                    Judge Andrew P. Gordon                      Heather Newman at HN@nvd.uscourts.gov
                                    Judge Jennifer A. Dorsey                     Amber McClane at AM@nvd.uscourts.gov
                               Judge Richard F. Boulware, II                        Patricia Ganci at PG@nvd.uscourts.gov
                                  Sr. Judge Lloyd D. George                            Transcript_Orders@nvd.uscourts.gov

                            Sr. Judge Howard D. McKibben                             Kathy French at KF@nvd.uscourts.gov

                                   Sr. Judge Kent J. Dawson                  Shayna Montgomery at SM@nvd.uscourts.gov
                                    Sr. Judge Larry R. Hicks                    Margaret Griener at MG@nvd.uscourts.gov
                                   Sr. Judge Robert C. Jones                    Margaret Griener at MG@nvd.uscourts.gov
                                  Sr. Judge James C. Mahan                             Transcript_Orders@nvd.uscourts.gov

             If there is no U.S. District Judge assigned to the case, please email your transcript order form to
             Transcripts_Nevada@nvd.uscourts.gov.


   3. What if I only want a copy of the audio recording?
       Only proceedings in which the record is taken by an Electronic Court Recording Operator (ECRO) before
       a District Judge or recorded for a proceeding before a Magistrate Judge have audio CDs available for
       purchase. Proceedings taken by Official Court Reporters do not have CD/tape recordings available for
       sale. An Audio Recording Order form is available on the court’s website. The completed form should be
       e-mailed to Transcripts_Nevada@nvd.uscourts.gov.


   4. Can I order a transcript by phone?
       No.
       The Transcript Order form must be completed and returned to the Clerk’s Office by e-mail or delivered to.


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Transcript Orders – Frequently Asked Questions


    5. Do you accept transcript orders via fax?
        No.
        The court no longer accepts transcript orders via fax. Please email the completed transcript order form.


    6. How much does a transcript cost and how long does it take?
        The cost of a transcript depends on how quickly you need it and if it has been previously produced or not.
        The following page rates have been set by the Judicial Conference of the United States:

                            TYPE OF TRANSCRIPT                                 ORIGINAL         1ST Copy Each Additional
                                                                                                 to Each   Copy to the
                                                                                                  Party    Same Party
         Ordinary Transcript (30-day)                                              $3.65           $.90              $.60
         A transcript to be delivered within 30 calendar days
         after receipt of an order.
         14-Day Transcript                                                         $4.25           $.90              $.60
         A transcript to be delivered within 14 calendar days
         after receipt of an order.
         Expedited Transcript (7 day)                                              $4.85           $.90              $.60
         A transcript to be delivered within 7 calendar days after
         receipt of an order.
         3-Day Transcript                                                          $5.45          $1.05              $.75
         A transcript to be delivered within 3 calendar days after
         receipt of an order.
         Daily Transcript                                                          $6.05          $1.20              $.90
         A transcript to be delivered on the calendar day
         following receipt of the order (regardless of whether that
         calendar day is a weekend or holiday), prior to the
         normal opening hour of the clerk’s office.
         Hourly Transcript                                                         $7.25          $1.20              $.90
         A transcript of proceedings to be delivered within 2
         hours from receipt of the order.
         Realtime Transcript                                                   One feed,
                                                                               1
         A draft unedited transcript produced by a certified                   $3.05 per
         realtime reporter as a byproduct of realtime to be                  page; two-to-
         delivered electronically during proceedings or                       four feeds,
         immediately following receipt of the order.                           $2.10 per
                                                                             page; five or
                                                                              more feeds,
                                                                               $1.50 per
                                                                                 page.



1
 A realtime “feed” is the electronic data flow form the court reporter to the computer of each person or party ordering and
receiving the realtime transcription in the courtroom.
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Transcript Orders – Frequently Asked Questions


   7. How do I know how much to send as a deposit?
       Once your order is received, an estimate of the total cost will be prepared and you will be notified by the
       court reporter or recorder as to how much deposit is needed to start preparing your transcript. A deposit of
       75% of the estimated total is required. You will be asked to send the deposit in the form of a check or
       money order payable directly to the court reporter or a transcription company. The court is unable to accept
       cash for a transcript. Transcripts are not started and the time for delivery does not start to run until the
       deposit has been received.


   8. How will I know when my transcript is completed?
       When a transcript is complete, the court reporter or transcriber will deliver the transcript as requested in the
       delivery instructions on the transcript order, along with a bill for the actual cost. Your deposit will have
       been deducted from the actual cost. You will be asked to pay the balance in the form of a check or money
       order payable to the court reporter or a transcription company. The court cannot accept cash as payment for
       a transcript. If your deposit was greater than the actual cost, you will receive a refund check.


   9. When I file the “Designation of Transcripts” form for my appeal, does this automatically order the
      transcripts I have listed?
       No, you must also complete and file a Transcript Order form or, if appropriate, a CJA-24 request. The
       Designation of Transcripts is a document filed in the appeal process, but it does not replace ordering the
       transcripts with the Transcript Order form.

       Note: For CJA appointed attorneys, please log into the court’s CJA eVoucher system and submit a CJA-
       24 authorization as noted in the first paragraph above under question "1."


   10. Does the court pay for my transcripts when ordered for an appeal?
       No.
       Unless otherwise ordered, it is the responsibility of the ordering party to pay for the transcripts to be used
       in the record on appeal.




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